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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF ILLINOIS
                           BENTON DIVISION
________________________________________________________________________

The Coin-Tainer Company, LLC                     Case No. 3:19-CV-00234 (NJR/RJD)

       Plaintiff,                                THIRD AMENDED COMPLAINT
                                                 AND DEMAND FOR JURY TRIAL
v.

Pap-R Products Company,
Pap-R-Tainer, LLC, and
Scott Ware, individually,

      Defendants.
________________________________________________________________________

       COMES NOW, Plaintiff The Coin-Tainer Company, LLC, for its third amended

complaint against Pap-R Products Company, Pap-R-Tainer, LLC and Scott Ware

(collectively “Defendants”), states and alleges as follows:

                               NATURE OF THE CASE

       1.     This is an action for trademark infringement, counterfeiting and dilution

under the Lanham Act, 15 U.S.C. § 1051, et seq., including the Trademark Counterfeiting

Act of 1984, 15 U.S.C. § 1116(d), and for trademark infringement, dilution and unfair

competition occasioned by Defendants’ unlawful manufacture, distribution and/or sale of

counterfeit merchandise bearing unauthorized copies of Coin-Tainer’s registered and

unregistered trademarks and service marks, as well as breach of the parties’ settlement

agreement. Coin-Tainer brings this action to (i) protect its reputation for selling

merchandise of the highest quality and grade; (ii) prevent deception of the consuming

public by Defendants; (iii) retain control over the substantial goodwill associated with its

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registered and unregistered trademarks and service marks being unlawfully exploited by

Defendants; and (iv) avoid thousands of irretrievably lost sales.

       2.     Specifically, Coin-Tainer seeks injunctive relief to prevent Defendants from

unlawfully infringing Coin-Tainer’s intellectual property rights through Defendants’

manufacture, distribution and/or sale of counterfeit merchandise bearing Coin-Tainer’s

registered mark.

                                        PARTIES

       3.     Plaintiff The Coin-Tainer Company, LLC is a Minnesota limited liability

company (“Coin-Tainer”) with its principal place of business at 13001 Twilight Road,

Onamia, Minnesota.

       4.     Defendant Pap-R Products Company is a Delaware corporation (“Pap-R

Products”) with its principal place of business located at 1 Harry Glynn Drive,

Martinsville, Clark County, Illinois. Pap-R Products is 50% membership interest holder in

Pap-R-Tainer.

       5.     Defendant Pap-R-Tainer, LLC is an Illinois limited liability company (“Pap-

R-Tainer”) with its registered office located at 1 Harry Glynn Drive, Martinsville, Clark

County, Illinois.

       6.     Defendant Scott Ware (“Ware”) is an individual with a business address of

1 Harry Glynn Drive, Martinsville, Clark County, Illinois. Ware is the sole shareholder and

President of Pap-R Products. Ware is a 50% membership interest holder and President of

Pap-R-Trainer, Pap-R Products is the other 50% membership interest holder.



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                                     JURISDICTION

       7.      This Court has subject matter jurisdiction over Plaintiff’s claims under

section 39 of the Lanham Act, 15 U.S.C. § 1121, and under 28 U.S.C. §§ 1331 and 1338.

Subject matter jurisdiction over Plaintiff’s related state law claims is proper pursuant to 28

U.S.C. §§ 1338 and 1367.

       8.      This Court has personal jurisdiction over Defendants because Defendants

have marketed their services within the State of Illinois, the effects of Defendants’ conduct

are felt in the State of Illinois, and Defendants’ conduct was purposefully directed within

the State of Illinois.

       9.      Pursuant to 28 U.S.C. § 1391, venue is proper in the District because a

substantial part of the events giving rise to Plaintiff’s claims occurred in the District and

the contract at issue contains an exclusive venue provision within this District.

                              FACTUAL ALLEGATIONS

       10.     Coin-Tainer realleges and reincorporates all of the allegations contained in

the preceding paragraphs as though fully set forth herein.

       11.     Coin-Tainer began doing business in 1976 as a paper, coin and currency

handling product manufacturer.

Coin-Tainer Trademarks

       12.     Coin-Tainer is the owner of a U.S. federal trademark “Coin-Tainer®,” U.S.

Trademark Registration Number 2,227,311, which was registered on March 2, 1999. In

addition to Coin-Tainer®, Coin-Tainer has common law rights to the Coin-Tainer name,



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logo, trade dress and related marks in connection with its services provided in the paper,

coin and currency handling field (collectively, the “Coin-Tainer Marks”).

       13.    Coin-Tainer has invested substantial resources in developing its

recognizable brand throughout the United States and worldwide.

       14.    Coin-Tainer has filed affidavits pursuant to Sections 8 and 15 of the

Lanham Act, 15 U.S.C. §§ 1058 and 1065, to make Coin-Tainer® incontestable.

       15.    As a result of Coin-Tainer’s continuous and exclusive use of the Coin-

Tainer Marks in connection with its services, the Coin-Tainer Marks enjoys wide public

acceptance and association with Coin-Tainer, and have come to be recognized widely and

favorably by the public as an indicator of the origin of Coin-Tainer’s services.

       16.    As a result of Coin-Tainer’s extensive use and promotion of the Coin-

Tainer Marks, Coin-Tainer has built up and now owns extremely valuable goodwill that

is symbolized by the Coin-Tainer Marks. The public has come to associate the Coin-

Tainer Marks with Coin-Tainer.

       17.    Consumers encountering Defendants’ services and use of infringing marks

are likely to be confused into believing that Defendants’ services either originate from

Coin-Tainer or that such services are sponsored by or otherwise affiliated with Coin-

Tainer.

       18.    Upon information and belief, Defendants are using infringing marks for an

improper purpose.

       19.    Defendants’ improper use has resulted, and will continue to result, in direct

harm to Coin-Tainer.

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       20.    Upon information and belief, Defendants intentionally adopted and used a

confusingly similar imitation of the Coin-Tainer Marks knowing that the infringing

marks would mislead and deceive consumers into believing that Defendants’ services

were affiliated, authorized, sponsored, or endorsed by Coin-Tainer, or that the services

originated with Coin-Tainer.

       21.    Defendants’ infringing marks are not associated, affiliated, or connected

with Coin-Tainer, or licensed, authorized, sponsored, endorsed, or approved by Coin-

Tainer in any way.

       22.    The likelihood of confusion, mistake, and deception engendered by

Defendants’ infringement of the Coin-Tainer Marks is causing and will continue to cause

irreparable harm to the goodwill symbolized by the Coin-Tainer Marks and the reputation

for quality that they and Coin-Tainer embody.

       23.    Defendants’ activities are likely to cause confusion due to Defendants’ use

of a confusingly similar imitation of the Coin-Tainer Marks. By causing a likelihood of

confusion, mistake, and deception, Defendants are inflicting irreparable harm on the

goodwill symbolized by the Coin-Tainer Marks and the reputation for quality that they

and Coin-Tainer embody.

Joint Venture

       24.    On January 14, 2014, Coin-Tainer sustained a fire to its operations that

resulted in a 100% loss of all assets.

       25.    Coin-Tainer rebuilt its core manufacturing competencies in Elk River

Minnesota.

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       26.    Coin-Tainer rebuilt all it could using insurance funds and bank financing.

       27.    Coin-Tainer increased its capabilities to manufacture in its core

competencies knowing it was planning to join forces with another company who could

manufacture all of the other items it previously offered.

       28.    On February 23, 2015, Coin-Tainer and Pap-R Products came together and

created a joint venture called Pap-R-Tainer.

       29.    Each company, Coin-Tainer and Pap-R Products, owned 50% of the

membership interests in Pap-R-Tainer.

       30.    Unfortunately, that merger was short lived. The parties became deadlocked

in the affairs of the company and litigation ensued in Illinois state court wherein each side

sought dissolution of Pap-R-Tainer (“Dissolution Litigation”).

       31.    In the Dissolution Litigation, Coin-Tainer asserted claims of breach of

fiduciary duties, accounting, dissolution, aiding and abetting breach of fiduciary duties,

civil conspiracy, tortious interference with contract and economic advantage, and fraud.

       32.    On or about April 4, 2017 a receiver was appointed to protect the creditors

and be responsible for the operations of Pap-R-Tainer.

       33.    On petition by Coin-Tainer, or about May 31, 2017, the court appointed a

second receiver, OSP, LLC d/b/a ATEC (“ATEC”) of Chesterfield, Missouri to serve as

the receiver for Pap-R-Tainer.

       34.    During the course of the Dissolution Litigation, on October 31, 2017 a quasi-

mediation occurred at the offices of Carmody MacDonald P.C., legal counsel for ATEC.



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       35.    That quasi-mediation resulted in a written, signed settlement term sheet

wherein Defendants were to purchase the Coin-Tainer entity for three million three

hundred fifty thousand dollars ($3,350,000.00), and thereby become the sole 100% owner

of the joint venture, Pap-R-Tainer.

       36.    Defendants reneged on the term sheet, and when a motion to enforce was

brought, the Illinois State Court determined that the term sheet was not binding and refused

to enforce its terms.

       37.    The Dissolution Litigation continued and was ultimately settled through a

written settlement agreement (“Agreement”).

       38.    The Agreement differed from the October 31, 2017 settlement in that

Defendants no longer wanted to purchase the Coin-Tainer entity but instead only wanted

to purchase Coin-Tainer’s membership interest in Pap-R-Tainer.

       39.    Every individual and entity involved in the dissolution lawsuit signed off on

the Agreement including, the receiver (ATEC), the bank (First Neighbor Bank) who held

security interests in the assets of Pap-R-Tainer, the respective companies (Coin-Tainer and

Pap-R Products), and the principals of those companies (Dave Walters of Coin-Tainer and

Scott Ware of Pap-R Products).

       40.    A number of terms changed from the October 31, 2017 transaction including

a reduction in the purchase price to only two hundred thousand dollars ($200,000.00).

       41.    However, where Plaintiff (and its principal, Dave Walters) originally would

have been bound by a non-compete restriction, with the new Agreement, they were not,

and the parties anticipated that Plaintiff (and Walters) would go back into competition with

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Defendants. As such, Plaintiff retained its corporate identity, federal tax ID number,

goodwill, tradenames and trademarks, vendor relations, vendor status, decision making and

authority.

Defendants’ Limited License

       42.    The Agreement granted Defendants a limited, exclusive right to use Coin-

Tainer’s tradenames, trademarks and likeness until December 31, 2018.

       43.    Specifically, Coin-Tainer (referred to as CT in the Agreement) granted Pap-

R Products and Pap-R-Tainer (referred to as PRP and PRT respectively in the Agreement)

the following license:

              The Coin-Tainer License. CT shall grant PRP and/or PRT a temporary,
              exclusive, royalty-free license to use the name “Coin-Tainer” and “The Coin-
              Tainer Company” through December 31, 2018. During this time, PRP and/or
              PRT shall not take any adverse action which would negatively affect the
              “Coin-Tainer” and “The Coin-Tainer Company” trade names. To prevent
              confusion, CT shall not use the names “Coin-Tainer” or “The Coin-Tainer
              Company” in the United States marketplace through December 31, 2018. On
              January 1, 2019, PRP and PRT shall return anything using the names “Coin-
              Tainer” and “The Coin-Tainer Company” and CT shall have sole rights to all
              variations of the CT trade names.

              The Parties understand that vendors have already printed product catalogs
              for 2019 and that those catalogs describe certain PRT/PRP products as
              “Coin-Tainer” products, which is out of the control of PRP/PRT at this time
              and which shall not be deemed a violation of this Paragraph 5. PRP/PRT will
              submit updated information to vendors for use in their 2020 catalogs that
              does not include the names “Coin-Tainer” or “The Coin-Tainer Company.”
              The Parties further understand that some PRP/PRT products identified as
              “Coin-Tainer” products will remain in vendors inventory and on vendors’
              shelves past December 31, 2018 and that this shall not be a violation of this
              Paragraph 5. PRT/PRP will not ship any products containing the name
              “Coin-Tainer” or “The Coin-Tainer Company” after December 31, 2018.




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       44.    Since January 1, 2019, Coin-Tainer has uncovered evidence that Defendants

have not only continued using Coin-Tainer’s tradename and likeness, it has engaged in

blatant trademark infringement and counterfeiting by, among other things, manufacturing,

selling, supplying, and profiting from the Coin-Tainer Marks.

       45.    Specifically, Defendants manufactured, sold and shipped product bearing the

Coin-Tainer Marks to Regent in 2019, without Coin-Tainer’s consent.

       46.    Upon information and belief, Defendants manufactured, sold and shipped

product bearing the Coin-Tainer Marks to other customers in 2019, without Coin-Tainer’s

consent.

       47.    It was revealed through discovery that Defendants have knowingly and

intentionally covered up the Coin-Tainer Marks on products and continued to sell and ship

product mimicking the Coin-Tainer brand.

       48.    It was further discovered that Defendants simply swapped out their logo for

the Coin-Tainer logo on product packaging thereby committing unlawful trade dress

violations.

       49.    The stickering over the Coin-Tainer logo did not completely cover the logo

and could be seen through the sticker.

       50.    Additionally, the Coin-Tainer logo can be seen from the back side of the

packaging bags.

       51.    Ware was directly aware of the Agreement, Coin-Tainer’s retention of the

Coin-Tainer Marks, the limited license granted to Defendants and the infringing actions of

Defendants. Ware personally and willfully participated in the manufacture, sale and

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shipping of the infringing products after December 31, 2018. Ware, as the sole owner of

Defendants, was a moving, active, conscious force behind Defendant’s infringement.

       52.    In addition to the trademark infringement and counterfeiting, Defendants

have continued to represent that they can act on behalf of and have authority to direct

changes to Coin-Tainer’s business.

       53.    Defendants have continued to do business under Coin-Tainer’s vendor status

and agreements which are tied directly to Coin-Tainer’s Federal Tax ID, DUNS number,

Global Location Number (GLN) and GS1 Company Prefix and barcodes.

       54.    Defendants are continuing to do business as and represent themselves as

Coin-Tainer by accepting purchase orders in the name of Coin-Tainer, invoicing under

Coin-Tainer’s vendor status and number, and accepting payment under the same including

transacting checks in the name of Coin-Tainer. Defendants are adversely affecting Coin-

Tainer’s brand, tradename, trademarks and goodwill by continually incurring fines and

chargebacks for incorrect, defective and unfulfilled orders. Defendants are also failing to

satisfy those fines and chargebacks which negatively affect Coin-Tainer.

       55.    Even more troubling, Defendants have engaged in deceptive and fraudulent

actions of shorting product in the pre-packaged bags which contain the Coin-Tainer Marks

further negatively affecting Coin-Tainer’s brand, tradename, trademarks and goodwill.

       56.    Defendants actions have caused actual confusion with the customers. When

inquiry is made, the customers routinely believed they were still doing business with Coin-

Tainer because of the Coin-Tainer Marks, tradename, trademark, vendor status and

agreement. Defendants failed, or refused, to inform the customers of the distinction.

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        57.   All of the acts herein are material breaches of the Agreement and must be

enjoined to avoid irreparable harm.

        58.   Coin-Tainer’s counsel sent a cease and desist letter to Defendants on or about

February 21, 2019 demanding Defendants cease their unlawful actions. Defendants

responded proclaiming their innocence yet continued to manufacture, sell and ship product

after both December 31, 2018 and after receiving the cease and desist letter.

        59.   Further and pursuant to the settlement agreement, Defendants were to return

to Plaintiff any products bearing the Coin-Tainer Marks. Defendants knowingly and

intentionally hid the fact that they were in possession of hundreds to thousands of poly

bags (which are used in manufacturing the end product – the packaging of the coin

wrappers) and not only failed to return them to Plaintiff, Defendants used the poly bags

and either sold them with the Coin-Tainer Marks or attempted to cover up the Coin-Tainer

Marks with stickers and continued to sell them well into 2019 and possibly continue to sell

them.

        60.   Through discovery, Plaintiff has uncovered defaming remarks made by

Defendants against Plaintiff after execution of the settlement agreement, including, but not

limited to:

              a. “effective 1-1-2019, Cointainer will be legally doing business as Pap-R-

                 Products”;

              b. That Pap-R Products was formerly Cointainer;

              c. “Effective Jan. 1, 2019, The Coin-Tainer Company, LLC and Pap-R-

                 Tainer LLC entities no longer exist”;

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               d. “Just a reminder that effective January 1, Cointainer/Pap-R Tainer no

                   longer exists, the new name is Pap-R Products…”;

               e. “Just a reminder that Paprtainer/Cointainer formally changed the first of

                   the year to Pap-R Products Co.”.

       61.     These statements made to customers are admittedly false and were

intentionally made by Defendants constituting defamation per se.

       62.     Pursuant to Fed.R.Civ.P. 38, Coin-Tainer demands a jury trial on all counts.

                                COUNT I.
                 TRADEMARK COUNTERFEITING 15 U.S.C. § 1114
                             (All Defendants)

       63.     Coin-Tainer reasserts each and every allegation contained in prior paragraphs

as if fully restated herein.

       64.     Defendants, without authorization from Coin-Tainer, have manufactured,

sold, supplied, shipped and/or used and are continuing to use spurious designations that are

identical to, or substantially indistinguishable from the Coin-Tainer Marks.

       65.     The foregoing acts of Defendants are intended to cause, have caused, and are

likely to continue to cause confusion or mistake, or to deceive consumers, the public, and

the trade into believing that Defendants’ infringing products are genuine or authorized

products of Coin-Tainer.

       66.     Defendants have acted with knowledge of Coin-Tainer’s ownership of the

Coin-Tainer Marks and with deliberate intention or willful blindness to unfairly benefit

from the incalculable goodwill inherent in the Coin-Tainer Marks.



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       67.     Defendants’ acts constitute trademark counterfeiting in violation of Section

32 of the Lanham Act (15 U.S.C. § 1114).

       68.     Upon information and belief, Defendants have made and will continue to

make substantial profits and/or gains to which they are not in law or equity entitled.

       69.     Upon information and belief, Defendants intend to continue their infringing

acts, unless restrained by this Court.

       70.     Defendants’ actions constitute knowing, deliberate, and willful infringement

of the Coin-Tainer Marks. The knowing and intentional nature of the acts set forth herein

renders this an exceptional case under 15 U.S.C. § 1117.

       71.     Defendants caused and are likely to continue causing substantial injury to

Coin-Tainer. As such, Coin-Tainer is entitled to injunctive relief and to recovery of lost

profits, actual damages, enhanced profits and damages, statutory damages, costs, and

reasonable attorney’s fees. Said damages exceed $75,000.00.

       72.     The aforesaid conduct, for which there is no complete adequate remedy at

law, is irreparable, continuing in nature, and will continue unless properly enjoined.

                                COUNT II.
                   TRADEMARK INFRINGEMENT 15 U.S.C. § 1114
                              (All Defendants)

       73.     Coin-Tainer reasserts each and every allegation contained in prior paragraphs

as if fully restated herein.

       74.     Coin-Tainer has used the Coin-Tainer Marks and name in commerce in

connection with its services.



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       75.    Defendants had both actual and constructive knowledge of Coin-Tainer’s

ownership and rights in the Coin-Tainer Marks prior to Defendants’ infringing use of a

mark that is confusingly similar to the Coin-Tainer Marks.

       76.    Defendants adopted and continue to use a mark that is confusingly similar to

the Coin-Tainer Marks, with full knowledge of Coin-Tainer’s superior rights, and with full

knowledge that their infringing use was intended to cause confusion, mistake and/or

deception.

       77.    Defendants offer their services under the infringing marks in the same

channels of trade as those in which Coin-Tainer’s services are offered.

       78.    Defendants’ past and future use of a mark confusingly similar to the Coin-

Tainer Marks in connection with currency and coin wrapping services is likely to cause

confusion, deception, and mistake by creating the false or misleading impression that

Defendants’ services are provided or offered by Coin-Tainer or are endorsed, sponsored or

offered with the approval of Coin-Tainer.

       79.    Defendants’ mark is confusingly similar to the Coin-Tainer Marks and

constitute trademark infringement in violation of Section 32 of the Lanham Act (15 U.S.C.

§ 1114).

       80.    Defendants’ activities are causing, and will continue to cause, confusion and

deception amongst members of the public and trade as to the source, nature, or provider of

the goods and services offered by Defendants. Moreover, Defendants’ use has and will

continue to harm the reputation and goodwill of the Coin-Tainer Marks and business unless

the court enjoins the infringing actions.

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       81.     Defendants’ actions constitute knowing, deliberate, and willful infringement

of the Coin-Tainer Marks. The knowing and intentional nature of the acts set forth herein

renders this an exceptional case under 15 U.S.C. § 1117.

       82.     Defendants caused and are likely to continue causing substantial injury to

Coin-Tainer. As such, Coin-Tainer is entitled to injunctive relief and to recovery of lost

profits, actual damages, enhanced profits and damages, statutory damages, costs, and

reasonable attorney’s fees. Said damages exceed $75,000.00.

       83.     The aforesaid conduct, for which there is no complete adequate remedy at

law, is irreparable, continuing in nature, and will continue unless properly enjoined.

                         COUNT III.
 FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                                      (All Defendants)

       84.     Coin-Tainer reasserts each and every allegation contained in prior paragraphs

as if fully restated herein.

       85.     Defendants’ use of the same or a confusingly similar mark to the Coin-Tainer

Marks will continue to cause confusion and deception, by creating the false and misleading

impression that Defendants’ services are provided or offered by Coin-Tainer, or are

affiliated, sponsored, or endorsed by Coin-Tainer.

       86.     Defendants have deliberately and willfully attempted to trade on Coin-

Tainer’s long-standing and hard-earned goodwill in its name, the Coin-Tainer Marks, and

the reputation established by Coin-Tainer in connection with its services, in order to

confuse consumers as to the origin and sponsorship of Defendants’ services.



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       87.    Defendants’ unauthorized and tortious conduct has deprived and will

continue to deprive Coin-Tainer of the ability to control the consumer perception of its

services offered under its name and the Coin-Tainer Marks, placing valuable reputation

and goodwill of Coin-Tainer in the hands of Defendants.

       88.    Defendants’ conduct is likely to cause confusion, mistake, or deception as to

the affiliation, connection, or association of Defendants and their services with Coin-

Tainer, and as to the origin, sponsorship, or approval of Defendants and their services, in

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125(a)(1).

       89.    Defendants had knowledge of Coin-Tainer’s prior use of and rights in the

Coin-Tainer Marks before the acts complained of herein, or became aware of and

disregarded such prior use and rights thereafter. The knowing, intentional, and willful

nature of the acts set forth herein renders this an exception case under 15 U.S.C. § 1117.

       90.    Defendants’ actions demonstrate an intentional, willful, and malicious intent

to trade on the goodwill associated with the Coin-Tainer Marks to the great and irreparable

injury of Coin-Tainer.

       91.    Defendants’ conduct has caused, and is likely to continue causing, substantial

injury to the public and to Coin-Tainer. Coin-Tainer is entitled to injunctive relief and to

recover Defendants’ profits, actual damages, enhanced profits and damages, statutory

damages, costs, and reasonable attorneys’ fees. Said damages exceed $75,000.00.




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                                     COUNT IV.
                                BREACH OF CONTRACT
                               (Pap-R Products, Pap-R-Tainer)

       92.     Coin-Tainer reasserts each and every allegation contained in prior paragraphs

as if fully restated herein.

       93.     Coin-Tainer and Defendants, by their mutual assent, entered into a

contractual agreement (the Agreement) supported by good and valuable consideration,

whereby Defendants purchased Coin-Tainer’s membership interests in Pap-R-Tainer.

       94.     Defendants did not contract to purchase the Coin-Tainer entity and agreed to

return anything baring the Coin-Tainer name.

       95.     Defendants further agreed to cease using the Coin-Tainer tradenames,

trademarks and doing business as Coin-Tainer by December 31, 2018.

       96.     Coin-Tainer in turn, agreed to sell all its membership interests in Pap-R-

Tainer and agreed to refrain from competing or entering the marketplace under its own

name until January 1, 2019.

       97.     Defendants have breached the Agreement by failing to perform its

obligations under the Agreement and continuing to use Coin-Tainer’s brand, tradename,

trademarks, goodwill, vendor status and agreements and continuing to represent and do

business as Coin-Tainer.

       98.     Additionally, Defendants have sold and shipped product containing the Coin-

Tainer Marks to Regent and other customers in 2019.

       99.     Additionally, Defendants have breached the Agreement by not returning

everything bearing the Coin-Tainer name.

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       100.    Coin-Tainer for its part has performed all of its obligations under the

Agreement.

       101.    As a result of the aforesaid conduct, Coin-Tainer has suffered damages in an

amount exceeding $75,000.00 to be proven at trial and is entitled to recovery of attorney’s

fees and costs under the Agreement.

                                       COUNT V.
                                      DEFAMATION
                                (Pap-R Products, Pap-R-Tainer)

       102.    Coin-Tainer reasserts each and every allegation contained in prior paragraphs

as if fully restated herein.

       103.    Defendant Pap-R Products and Defendant Pap-R-Tainer employees and

representatives made defamatory statements about Plaintiff as more fully described above,

including but not limited to:

               a. “effective 1-1-2019, Cointainer will be legally doing business as Pap-R-

                   Products”;

               b. That Pap-R Products was formerly Cointainer;

               c. “Effective Jan. 1, 2019, The Coin-Tainer Company, LLC and Pap-R-

                   Tainer LLC entities no longer exist”;

               d. “Just a reminder that effective January 1, Cointainer/Pap-R Tainer no

                   longer exists, the new name is Pap-R Products…”;

               e. “Just a reminder that Paprtainer/Cointainer formally changed the first of

                   the year to Pap-R Products Co.”.



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       104.    Defendant Pap-R Products employees and representatives made an

unprivileged publication of those statements to potential customers of Plaintiff.

       105.    The statements constitute defamation per se and/or defamation per quod.

       106.    The publication caused Plaintiff damages in harm to its reputation, lost

business opportunities, sales and confusion in the marketplace.

       107.    Plaintiff’s lost business opportunities and lost sales exceed a million dollars

annually.

       108.    As a result of the aforesaid conduct, Coin-Tainer has suffered damages in an

amount exceeding $75,000.00 to be proven at trial.

       WHEREFORE, Coin-Tainer respectfully requests the Court enter an order for

judgment, in its favor, for the following relief:

       1.      Order Defendants and all of their agents, officers, employees,

representatives, successors, assigns, attorneys, and all other persons acting for, with, by,

through, or under authority from Defendants, or in concert or participation with

Defendants, and each of them, be permanently enjoined from:

            a. Advertising, marketing, promoting, offering for sale, or providing services

               under the infringing mark or holding themselves out as Coin-Tainer;

            b. Using the infringing mark on or in connection with any of Defendants’

               services;

            c. Using the Coin-Tainer Marks or any copy, reproduction, colorable imitation,

               or simulation of the Coin-Tainer Marks in connection with Defendants’

               services;

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           d. Using any trademark, name, logo, design, or source designation of any kind

              in connection with Defendants’ services that is a copy, reproduction,

              colorable imitation, or simulation of, or are sponsored or authorized by Coin-

              Tainer, or are in any way connected or related to Coin-Tainer;

           e. Passing off, palming off, or assisting in passing off or palming off

              Defendants’ services as those of Coin-Tainer, or otherwise continuing any

              and all acts of unfair competition;

           f. Advertising, promoting, offering for sale, or providing services under the

              infringing mark or otherwise infringing on Coin-Tainer’s intellectual

              property rights in connection with providing similar services; and

           g. from (1) using the Coin-Tainer Marks, name, logo, and trade dress; (2) using Coin-

              Tainer’s GLN, GS1 Company Prefix and associated barcodes; and (3) doing

              business under Coin-Tainer’s vendor status, vendor numbers and agreements.

      2.      Ordering Defendants to cease offering for sale, marketing, promoting, and

providing services under the infringing mark or any other confusingly similar imitation of

Coin-Tainer Marks.

      3.      Order Defendants to return any and all material, inventory, advertisements,

promotional material, or goods bearing the Coin-Tainer name.

      4.      Order Defendants to account for any and all profits derived by Defendants

from the Coin-Tainer Marks after December 31, 2018.

      5.      Award Coin-Tainer statutory damages.



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       6.     Award Coin-Tainer all damages caused by the acts forming the basis of the

Complaint.

       7.     Award Coin-Tainer treble damages and enhanced disgorgement of

Defendants’ profits.

       8.     Order Defendants to pay Coin-Tainer the costs and reasonable attorney’s fees

incurred by Coin-Tainer in this action.

       9.     Award Coin-Tainer punitive damages for Defendants’ willful and deliberate

infringement of the Coin-Tainer Marks, and to deter such conduct in the future.

       10.    Holding Ware personally liable for the actions of Defendants.

       11.    Such further relief as the Court deems just and reasonable.



   Dated: March 17, 2020.                 TREPANIER MACGILLIS BATTINA P.A.

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                                   ATTORNEYS FOR PLAINTIFF             THE
                                   COIN-TAINER COMPANY, LLC




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